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ATTACHMENT C
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

In the Matter of the Search of
(Name, address or brief description of parson, property or premises to be searched) APPLIC ATION AND AFFID AVIT
Yahoo! FOR SEARCH WARRANT
701 First Avenue
Sunnyvale, California 94089

CASE NUMBER: | 4-203 WV

|, Adam Sucheski, being duly sworn, depose and say:

lam a(n) Special Agent of the Federal Bureau of Investigation ("FBI") and have reason to believe that 9 on the person

of or Son the property or premises known asiname, description and/or location)

SEE ATTACHMENT “A”

there is now concealed a.certain person or property, namely
(describe the person or property to be seized)

SEE ATTACHMENT “B”

which is (state one or more bases for search and seizure set forth under Rule 41(b) of the Federal Rules of Criminal Procedure)

property designed/intended for use or which is or has been used as the means of committing a crime,
evidence of commission of a crime, fruits of a crime

concerning a violation of Title 18 , United States Code, Section(s) 2251, 2252 and 2252A .
The facts to support a finding of of Probable Cause are as follows:

SEE ATTACHED AFFIDAVIT
Continued on the attached sheet and made a part hereof. Bm Yes ONo
Signature of Affiant

Sworn to before me, and subscribed in my presence

2 Jal

Philadelphia, PA

/ .
Date — :
Oa okaBLEM. FAITH ANGELL, U.S. Magistrate Judge OEE LL L

Name and Title of Issuing Officer Signature @ of Issuing Officer -

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

In the Matter of the Search of
(Nama, address cr brief description of person, property or premises to be searched) SEARCH WARRANT

Yahoo!
701 First Avenue
Sunnyvale, California 94089

casenumBer: | 3-223-/V\
To: Agents of the Federal Bureau of Investigatin (“FBI”) and any Authorized Officer of the United States

Affidavit(s) having been made before me by Adam Sucheski who has reason to believe that 0 on the person of or & on the
property or premises known as (name, description, and/or location)

SEE ATTACHMENT “A”

there is now concealed a certain person or property, namely
(describe the person or property)

SEE ATTACHMENT “B”

| am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the person or
property so described is now concealed on the person or premises above-described and establish grounds for the
issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before

Date
(not fo exceed 10 days) the person or place named above for the person or property specified, serving this warrant and making
the search (in the daytime — 6:00 A.M. to 10:00 P.M.) atany-time-inthe-day-ornightas-Hind reasonanie eatise nas Beer ,
established) and if the person or property be found there to seize same, leaving a copy of this warrant and receipt for the person
or property taken, and prepare a written inventory of the person or property seized and promptly return this warrant to

HONORABLE M. FAITH ANGELL, United States Magistrate Judge _ as required by law.

glahsa UZ: OAM Philadelphia, PA_

Date ant Time ipsued City and State

HONORABLE M. FAITH ANGELL, U.S. Magistrate Judge i ENE FH

Name and Title of Issuing Officer Signature of Issuing Officer :
10 83 (Rev. 965) scan wees? 2:14-cr-00379-CMR Document 48-3 Filed 03/24/15 Page 4 of 35

DATE WARRANT RECEIVED DATE AND TIME WARRANT EXECUTED COPY OF WARRANT AND RECEIPT FOR ITEMS LEFT WITH

INVENTORY MADE IN THE PRESENCE OF

INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT

| swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.

Subscribed, sworn to, and retumed to me this date.

HONORABLE M. FAITH ANGELL Date
U.S. Magistrate Judge .

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AFFIDAVIT .

I, Adam Sucheski, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),
Philadelphia Division, being duly sworn, depose and state as follows:
1. I have been employed as a Special Agent of the FBI for seven years, and am currently
assigned to the Philadelphia Division's Fort Washington Resident Agency. While employed by
the FBI, I have investigated federal criminal violations related to child pornography, robbery and
securities fraud. Ihave gained experience through training at the FBI Academy and prior law
enforcement training.
2. As a federal agent, I am authorized to investigate violations of laws of the United States
and to execute warrants issued under the authority of the United States.
3. The statements in this Affidavit are based on my investigation and other law enforcement
officers investigation of this matter. Since this affidavit is being submitted for the limited
purpose of securing a search warrant, I have not included each and every fact known to me
concerning this investigation. I have set forth only the facts that I believe are necessary to
establish probable cause to believe that evidence, fruits, and instrumentalities of the violation of
Title 18, United States Code, Sections 2252, 2252A, and 2251, are located at Yahoo! 701 First
Avenue, Sunnyvale, California and are associated with email addresses xtictac22@yahoo.com

and yourfantasy1207@yahoo.com.

LEGAL AUTHORITY
4, Title 18 U.S.C. § 2252(a) prohibits a person from knowingly transporting, shipping,
receiving, distributing, reproducing for distribution, possessing, or accessing with intent to view

any visual depiction of minors engaging in sexually explicit conduct, or produced using a minor
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engaged in such conduct, when such visual depiction was either mailed or shipped or transported
in interstate or foreign commerce, or in or affecting interstate commerce, by any means,
including by computer, or when such visual depiction was produced using materials that had
traveled in interstate or foreign commerce.

5. Title 18 U.S.C. § 2252A(a) prohibits a person from knowingly transporting, shipping,
receiving, distributing, reproducing for distribution, possessing, or accessing with intent to view
any child pornography, as defined in Title 18 USS.C. § 2256(8), when such child pornography
was either mailed or shipped or transported in interstate or foreign commerce, or in or affecting
interstate commerce, by any means, including by computer, or when such child pornography was
produced using materials that had traveled in interstate or foreign commerce.

6. Title 18 U.S.C. § 2251(a) prohibits a person from using the mail or any facility, including
the computer, or means of interstate or foreign commerce, from knowingly employing,
persuading, inducing, enticing, or coercing any minor to engage in any sexually explicit conduct
for the purpose of producing any visual depiction of such conduct.

7. Under 18 U.S.C. § 2703(g), a law enforcement officer does not have to be present for
either the service or execution of the warrant. It is sufficient for us to serve it by fax or by mail
upon Yahoo. I request that Yahoo be required to produce the electronic communications and
other information identified in Attachments A and B hereto. Because Yahoo is not aware of the
facts of this investigation, its employees are not in a position to search for relevant evidence. In
addition, requiring Yahoo to perform the search would be a burden upon the company. Ifall

Yahoo is asked to do is produce all the files associated with the account, an employee can do that
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easily. Requiring Yahoo to search the materials to determine what content is relevant would add
to their burden.

8. I request that the Court authorize law enforcement agents to seize only those items
identified in Attachment B from what is produced by Yahoo pursuant to the search warrant. In
reviewing these files, I will treat them in the same way as if I were searching a file cabinet for
certain documents, E-mails will be scanned quickly to determine if they are relevant to my
search. If they are, they will be read. If I determine that they are not relevant, I will put them
aside without reading them in full. This method is similar to what a law enforcement officer
would do in the search of a filing cabinet or a seized computer.

9. Under 18 U.S.C. § 2703(b)(1)(A), notice to the customer or subscriber is not required
when the government obtains the contents of électronic communications using a search warrant.
10. Under 18 U.S.C. §§ 271 1(3) and 3127, this Court has the authority to issue the warrant
directing Yahoo to comply even though Yahoo is not located in this district, because the Court
has jurisdiction over the offense being investigated.

11. 1 also ask that the warrant direct Yahoo to produce records and other information
pertaining to this account. The government may obtain such records either by filing a motion
under 18 U.S.C. § 2703(d), or by means of a search warrant under § 2703(c)(1)(A). Since I need
a search warrant to obtain the electronic communications anyway, I am proceeding in the request
for records by search warrant as well. The facts set forth below to show probable cause also
constitute specific and articulable facts, showing that there are reasonable grounds to believe that
the records and other information sought are relevant and material to an ongoing criminal

investigation, as required by 18 U.S.C. § 2703(d).
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DEFINITIONS
7. The following definitions apply to this Affidavit:

a. "Child Erotica," as used herein, means materials or items that are sexually
arousing to persons having a sexual interest in minors but that are not, in and of themselves,

obscene or that do not necessarily depict minors in sexually explicit poses or positions.

b. "Child Pornography," as used herein, includes the definition in Title 18
US.C. § 2256(8) (any visual depiction of sexually explicit conduct where (a) the production of
the visual depiction involved the use of a minor engaged in sexually explicit conduct, (b) the
visual depiction is a digital image, computer image, or computer-generated image that is, or is
indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the visual
depiction has been created, adapted, or modified to appear that an identifiable minor is engaged
in sexually explicit conduct), as well as any visual depiction, the production of which involves
the use of a minor engaged in sexually explicit conduct (see Title 18 U.S.C. §§ 2252 and.

2256(2)).

Cc. "Visual depictions" include undeveloped film and videotape, and data
stored on computer disk or by electronic means, which is capable of conversion into a visual

image. (See Title 18 U.S.C. § 2256(5)).

d. "Sexually explicit conduct" means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, or oral-anal, whether between persons of the
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same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the genitals or pubic area of any persons, (See Title 18 U.S.C.

§ 2256(2)).
e. "Computer," as used herein, is defined pursuant to Title 18 U.S.C.

§ 1030(e)(1), as "an electronic, magnetic, optical, electrochemical, or other high speed data
processing device performing logical or storage functions, and includes any data storage facility

or communications facility directly related to or operating in conjunction with such device."

f. "Minor" means any person under the age of eighteen years. (See Title 18

U.S.C. § 2256(1)).

g. "Internet Service Providers" (ISPs), as used herein, are commercial
organizations that are in business to provide individuals and businesses access to the Internet.
ISPs provide a range of functions for their customers including access to the Internet, web
hosting, e mail, remote storage, and colocation of computers and other communications
equipment. ISPs can offer a range of options in providing access to the Internet including
telephone based dial up, broadband based access via digital subscriber line (DSL) or cable
television, dedicated circuits, or satellite based subscription. ISPs typically charge a fee based
upon the type of connection and volume of data, called bandwidth, which the connection
supports. Many ISPs assign each subscriber an account name — a user name or screen name, an

"e mail address," an e mail mailbox, and a personal password selected by the subscriber. By
using a computer equipped with a modem, the subscriber can establish communication with an

ISP over a telephone line, through a cable system or via satellite, and can access the Internet by

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using his or her account name and personal password, ISPs maintain records ("ISP records")
pertaining to their subscribers (regardless of whether those subscribers are individuals or
entities). These records may include account application information, subscriber and billing
information, account access information (often times in the form of log files), e mail
communications, information concerning content uploaded and/or stored on or via the ISP's
servers, and other information, which may be stored both in computer data format and in written

or printed record format.

h. "Domain names" are common, easy to remember names associated with
an Internet Protocol address. For example, a domain name of "www.usdoj.gov" refers to the
Internet Protocol address of 149.101.1.32. Domain names are typically strings of alphanumeric
characters, with each level delimited by a period. Each level, read backwards — from right to left
_ further identifies parts of an organization. Examples of first level, or top-level domains, are
typically .com for commercial organizations, .gov for the governmental organizations, .org for
organizations, and, .edu for educational organizations. Second level names will further identify
the organization, for example usdoj.gov further identifies the United States governmental agency
to be the Department of Justice. Additional levels may exist as needed until each machine is
uniquely identifiable. For example, www.usdoj.gov identifies the world-wide web server located

at the United States Department of Justice, which is part of the United States government.

i. "Internet Protocol address" or "IP address" refers to a unique number used
by a computer to access the Internet. IP addresses can be dynamic, meaning that the Internet

Service Provider (ISP) assigns a different unique number to a computer every time it accesses
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the Internet. IP addresses might also be static, if an ISP assigns a user's computer a particular IP

address which is used each time the computer accesses the Internet.

j. "Electronic Communication Service" refers to any service which provides
to users thereof the ability to send or receive wire or electronic communications. (See Title 18

U.S.C. 2510(15)).

k. “MD5 Hash Value”, also known as a message digest, is a mathematical
value generated by applying an algorithm to a computer file that is represented by a sequence of
32 hexadecimal digits. Among computer forensics professionals, the MDS hash value is

generally considered to be a unique signature or fingerprint for a file.

BACKGROUND REGARDING COMPUTERS, THE INTERNET, E-MAIL, AND
FACEBOOK

8. The Internet is a worldwide network of computer systems operated by governmental
entities, corporations, and universities. In order to access the Internet, an individual computer
user must subscribe to an access provider, which operates a host computer system with direct
access to the Internet. The World Wide Web (“www”) is a functionality of the Internet which
allows users of the Internet to share information.

9. With a computer connected to the Internet, an individual computer user can make
electronic contact with millions of computers around the world. This connection can be made by
any number of means, including modem, local area network, wireless and numerous other

methods.

10. E-mail is a popular form of transmitting messages and or files in an electronic
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environment between computer users. When an individual computer user sends e-mail, it is
initiated at the user’s computer, transmitted to the subscriber’s mail server, and then transmitted
to its final destination. A server is a computer that is attached to a dedicated network and serves
many users. An e-mail server may allow users to post and read messages and to communicate
via electronic means.

11. Internet-based e-mail is a service provided by an electronic communication service
provider allowing individuals to send and receive e-mail from any Internet connected computer,
regardless of their location or Internet service provider (ISP). Individuals utilizing Internet-
based e-mail services access their accounts by “logging in” through the web-browser software
installed on their computer, often by providing an account name and an associated password.
Once the service provider’s computers have determined the password is correct for the given
account name, the individual “logged-in” can access any e-mail sent to their account, and or send
e-mail to any other e-mail address accessible via the Internet.

12. Internet-based e-mail service providers reserve and or maintain computer disk storage
space on their computer system, usually limited and closely regulated, for the use of the service
subscriber for the storage of e-mail communications with other parties, which include graphic
files, programs, or other types of date stored in electronic form.

13. Internet-based e-mail service providers maintain records pertaining to the individuals
Who subscribe to their services. These records could include the account holder’s name,
address, date of birth, gender, occupation, and the Internet Protocol (IP) address used to establish

the account and subsequent accesses to that account.

14. Any e-mail that is sent toa Internet-based e-mail subscriber is stored in the subscriber’s
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"mail box" on the electronic communications service provider’s servers until the subscriber
deletes the e-mail or the subscriber’s mailbox exceeds the storage limits preset by the provider.
If the message is not deleted by the subscriber, the account is below the maximum limit, and the
subscriber accesses the account periodically, that message can remain on the provider’s servers
‘indefinitely. Electronic communications service providers can also perform backups of
subscriber’s email accounts as routine maintenance in case their servers become inoperable so
the content in the subscriber’s account is not lost.

15. When the subscriber sends an e-mail, it is initiated at the user's computer, transferred via
the Internet to the provider’s servers, and then transmitted to its end destination. Most Internet-
based e-mail users have the option of saving a copy of a sent e-mail. Unless the sender of the e-
mail specifically deletes the e-mail from the provider’s server, the e-mail can remain on the
system indefinitely. The sender can delete the stored e-mail message thereby eliminating it from
the e-mail box maintained by the provider, but that message will remain in the recipient’s e-mail
box unless the recipient deletes it as well or unless the recipient’s account is subject to account
size limitations.

16. Internet-based e-mail provider’s typically offer services to their subscribers that allow
them to store any electronic file (i.e. image files, text files, etc.) on servers maintained and or
owned by the provider.

17. E-mails and other electronic files stored on an electronic communications service
provider’s server by a subscriber may not necessarily be located in the subscriber's home
computer. The subscriber may store e-mails and or other files on the provider’s server for which

there is insufficient storage space in the subscriber’s computer and or which he/she does not wish
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to maintain in the computer in his/her residence. A search of the files in the computer in the
subscriber's residence will not necessarily uncover the files that the subscriber has stored on the
provider’s server.

12. Yahoo's e-mail is an Internet-based electronic communications system operated by
Yahoo. It permits its users to communicate using e-mail and other methods such as instant
messenging. Instant Messenging allows users to have direct and private chat conversations with
other users of that service.

18. Ihave had both training and experience in the investigation of computer-related crimes.
Based on my training, experience and knowledge, I know the following:

a. Computers and computer technology have revolutionized the way in
which child pornography is produced, distributed, and utilized. It has also revolutionized the
way in which child pornography collectors interact with each other. Child pornography formerly
was produced using cameras and film (either still photography or movies.) The photographs
required darkroom facilities and a significant amount of skill in order to develop and reproduce
the images. Asa result, there were definable costs involved with the production of pornographic
images. To distribute these on any scale also required significant resources. The photographs
thernselves were somewhat bulky and required secure storage to prevent their exposure to the
public. The distribution of these wares was accomplished through a combination of personal

contact, mailings, and telephone calls. Any reimbursement would follow these same paths.

b. The development of computers has added to the methods used by child

pornography collectors to interact with and sexually exploit children. Computers serve four

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functions in connection with child pornography. These are production, communication,

distribution, and storage.

c. Child pornographers can now convert photographs onto a computer-
readable format with a device known as a scanner: With the advent of digital cameras, the
images can now be transferred directly onto a computer. A device known as a modem allows
any computer to connect to another computer through the use of telephone, cable, or wireless
connection. Electronic contact can be made to literally millions of computers around the world.
The ability to produce child pornography easily, reproduce it inexpensively, and market it
anonymously (through electronic communications) has drastically changed the method of
distribution and receipt of child pornography. Child pornography can be transferred via
electronic mail or through file transfer protocols (FTP) to anyone with access to a computer and
modem. Because of the proliferation of commercial services that provide | electronic mail
service, chat services (i.e., "Instant Messaging"), and easy access to the Internet, the computer is

a preferred method of distribution and receipt of child pornographic materials.

od The computer's ability to store images in digital form makes the computer
itself an ideal repository for child pornography. The size of the electronic storage media
(commonly referred to as the hard drive) used in home computers has grown tremendously
within the last several years. These drives can store hundreds of thousands of images at very

high resolution.

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e. The Internet and its World Wide Web afford collectors of child
pornography several different venues for obtaining, viewing, and trading child porno graphy in a

relatively secure and anonymous fashion.

f. Collectors and distributors of child pornography also use online resources
to retrieve and store child pornography, including services offered by Internet Portals such as
Yahoo! and Hotmail, among others. The online services allow a user to set up an account with a
remote computing service that provides e-mail services as well as electronic storage of computer
files in any variety of formats. A user can set up an online storage account from any computer
with access to the Internet. Even in cases where online storage is used, however, evidence of

child pornography can be found on the user's computer in most cases.

g. As is the case with most digital technology, communications by way of
computer can be saved or stored on the computer used for these purposes. Storing this
:nformation can be intentional, i.e., by saving an e-mail as a file on the computer or saving the
location of one's favorite websites in, for example, "bookmarked" files. Digital information can
also be retained unintentionally, e.g., traces of the path of an electronic communication may be
automatically stored.in many places (e.g., temporary files or ISP client software, among others).
In addition to electronic communications, a computer user's Internet activities generally leave
traces or "footprints" in the web cache and history files of the browser used, A forensic
examiner often can recover evidence suggesting whether a computer contains peer to peer
software, when the computer was sharing files, and some of the files which were uploaded or

downloaded. Such information is often maintained indefinitely until overwritten by other data.

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CHARACTERISTICS OF CHILD PORNOGRAPHY COLLECTOR

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19. I know from my training, experience, and information provided to me by other

investigators that the following characteristics are prevalent among individuals who collect child
pornography:

a. The majority of individuals who collect child pornography are persons
who have a sexual attraction to children. They receive sexual gratification and satisfaction from

sexual fantasies fueled by depictions of children that are sexual in nature.

b. The majority of individuals who collect child pornography collect explicit
materials, which may consist of photographs, magazines, motion pictures, video tapes, books,
slides, computer graphics or digital or other images for their own sexual gratification. The
majority of these individuals also collect child erotica, which may consist of images or text that
do not rise to the level of child pornography but which nonetheless fuel their sexual fantasies

involving children.

Cc. The majority of individuals who collect child pornography often seek out
like-minded individuals, either in person or via the Internet, to share information and trade
depictions of child pornography and child erotica as a means of gaining status, trust, acceptance
and support. The different Internet-based vehicles used by such individuals to communicate with .
each other include, but are not limited to, peer-to-peer, e-mail, bulletin boards, Internet relay

chat, newsgroups, instant messaging, and other similar vehicles.

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d. The majority of individuals who collect child pornography maintain
books, magazines, newspapers and other writings, in hard copy or digital medium, on the subject
of sexual activities with children as a way of understanding their own feelings toward children,
justifying those feelings and finding comfort for their illicit behavior and desires. Such

individuals rarely destroy these materials because of the psychological support they provide.

€. The majority of individuals who collect child pornography often collect,
read, copy or maintain names, addresses (including e-mail addresses), phone numbers, or lists of
persons who have advertised or otherwise made known in publications and on the Internet that
they have similar sexual interests. These contacts are maintained as a means of personal referral,
exchange or commercial profit. These names may be maintained in the original medium from
which they were derived, in telephone books or notebooks, on computer storage devices, or on

scraps of paper.

f. The majority of individuals who collect child pornography rarely, if ever,
dispose of their sexually explicit materials and may go to great lengths to conceal and protect

their collection of illicit materials from discovery, theft, and damage.

. g. Recent studies have shown that those who collect child pomography are
more likely to be “contact offenders” with children. In a study published in the Journal of
Abnormal Psychology, Vol. 15, No. 3, pp. 610-615, by Seto, Cantor, and Blanchard, titled
“Child Pornography Offenses Are a Valid Diagnostic Indicator of Pedophilia,” the authors
concluded an interest in child pornography is a strong indicator of pedophilia. In December,

2010, Seto, Hanson, & Babchishin, published an article entitled “Contact Sexual Offending by

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Men With Online Sexual Offenses,” in Sexual Abuse: A Journal of Research and Treatment.
This article was a meta-analysis of a number of studies of possessors of child pornography. This
was a meta-analysis of 24 studies of possessors of child pornography. In the studies that relied
only upon subsequent arrests and/or convictions, the number of contact offenses with children
ran from 4.6% to 13.3%. In the three studies in which the subjects were subject to polygraph
examinations, the percentages ranged from 32.3% to 84.5%, with the middle study finding
55.3%. In the remaining three studies which relied only upon self-reporting, the numbers ranged ©
from 32.8% to 57.4%. Each of the last three studies was unique. In Neutze, Seto, Schaefer,
Mundt, & Beier (in press at this time), the subjects were in Germany. They had sought
counseling on their own and were not referred by the criminal justice system. In the venue where
the study was conducted, therapists were not legally required to report the admissions of their
subjects (36.5%). In Quayle & Taylor (2003), the number of subjects was sample small (23) and
had established good rapport with the therapists (47.8%). Finally, in Coward, Gabriel, Schuler,
and Prentky (2009), the subjects reported anonymously (32.8%). In performing their statistical
analysis of these studies, Seto, Hanson, & Babchishin concluded that more than 50% of those
convicted of “possession only” admitted to at least one contact offense, when one relied on more

than an arrest or conviction for a new offense.

BACKGROUND OF THE INVESTIGATION
20. On October 18, 2012, your Affiant was provided information from Facebook which
appeared to indicate that a twenty-seven year old man was involved in the enticement and
production of child pornography. Facebook had discovered suspected sexual conversations

between a adult male and a minor female. Facebook notified the National Center for Missing

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and Exploited Children (NCMEC) who subsequently advised the FBI. Your Affiant was advised
that Facebook user WENDELL LANDIS, user identification (UID) 1641 165072 had his profile .
disabled by Facebook as it appeared that he was violating their terms of service for engaging in
sexual conversation with a minor. Facebook provided a telephone number for the suspected
minor as well as her Facebook UID and IP address information.

21. Through public records checks and law enforcement databases, your A ffiant identified
WENDELL LANDIS as ROBERT WENDELL LANDIS, date of birth December 7, 1984. Your
Affiant also located an active Facebook account for LANDIS, bearing vanity name wlandis1.

On this Facebook webpage, LANDIS indicates that he works for Exton Nissan, in Exton,
Pennsylvania. Your Affiant has viewed the photographs from the active Facebook page as well
as LANDIS' Pennsylvania driver's license photograph. Your Affiant believes that they are the
same individual, ROBERT WENDELL LANDIS.

22. Your Affiant reviewed the information from Facebook, which provided several IP .
addresses from which LANDIS accessed his account. The most recent in the records was
173.12.13.209 assigned on 07/20/2012 00:38:27 UTC

23. Your Affiant reviewed the information provided and located telephone number 215-262-
4363 within the records for UID 1641165072. Your Affiant sent a subpoena to Verizon, which
indicated that the telephone number is assigned to ROBERT W. LANDIS, 1507 Salford Street,
Salford, PA 18957. A review of toll records provided by Verizon indicates that LANDIS had
telephonic contact 79 times with the minor? between January 1, 2012 and October 21, 2012.

24. Your Affiant reviewed the information provided and.located IP address 75.131.214.244

1 The mother of the minor confirmed the telephone number known to your Affiant, which had
been provided by Facebook was the telephone number utilized by her minor daughter.

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within the information for the suspected minor. The IP address was assigned on 10/7/2012 at —
19:56:19 UTC and was utilized to access the minor's Facebook account. Your Affiant sent a
subpoena to Charter Communications for information on the IP address.

25. OnNovember 2, 2012, your Affiant received a response to a subpoena from Charter
Communications. Charter Communications advised that IP address 75.131.214.244 was
assigned to an account holder at an address known to your Affiant in Buford, Georgia on
10/7/2012 at 19:56:19 UTC. Through public records checks, your Affiant located and spoke
with the account holder on November 7, 2012. The account holder indicated that her daughter is
a minor, born in 1996 and that she had lived in Chester County, Pennsylvania up until July 2012, -
when they moved to Buford, Georgia. Her daughter's Facebook account is associated with UID
1334013414.

26. |OnNovember 6, 2012, Comcast responded to a subpoena for records related to IP

address 173.12.13.209 assigned on 07/20/2012 00:38:27 UTC. The records indicate that this IP
address is a statically assigned IP address, the subscriber is EXTON NISSAN, 200 West Lincoln
Highway, Exton, Pennsylvania 19341. Additionally, Comcast. advised that email address
rlandis325@comcast.net is assigned to ROBERT LANDIS, 1102 Colonial Court, Norristown,
Pennsylvania 19403, with telephone number 215-262-4363.

27. On November 8, 2012, Hotmail Inc. responded to a subpoena for records related to
xtictac22@hotmail.com. This email address was provided by Facebook as an alternate contact
associated with LANDIS' Facebook account UID 1641165072. The records indicate that
xtictac22@hotmail.com is registered to RW Landis, Pennsylvania, 18957 with the last IP login of

98.225.253.10 on 10/20/2012 4:08:32 AM (PDT). An additional IP address was utilized on

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10/19/2012 4:20:52 PM (PDT) 173.12.13.209. This address has been identified as the static IP
address assigned to Exton Nissan.

28. Your Affiant subpoenaed records related to IP address 98.225.253.10 on 10/20/2012
4:08:32 AM (PDT), which is assigned to CellCo DBA Verizon Wireless.

29. On December 4, 2012, your Affiant spoke with an employee of the property management
company responsible for 1102 Colonial Court, Norristown, Pennsylvania. The representative
advised that ROBERT LANDIS has signed a lease for 1102 Colonial Court for one year. The
period of the lease is November 14, 2012 to November 14, 2013. The employee further noted
that telephone number 215-262-4363 and email address rlandis325@comcast.net were on file as
methods of contact. LANDIS' unit also has a parking space associated with it. Your Affiant
observed a white Nissan sedan, bearing Pennsylvania registration K02212K, parked in LANDIS'
assigned space. The vehicle registration is a dealer plate issued to Chester County Nissan DBA

_ Exton Nissan, 200 West Lincoln Highway, Exton, Pennsylvania 19341.

30. On December 4, 2012, your Affiant contacted the Montgomery County 911 center and
requested an address check for 1102 Colonial Court, Norristown, Pennsylvania. The 911 operator
indicated that the property is in West Norriton Township”.

31. On December 5, 2012, the previously identified minor (paragraph 22 herein) was
interviewed by a child victim specialist, and was observed by a FBI Special Agent assigned to the
Atlanta Division. During the interview, the minor indicated that she did know LANDIS (as
WENDELL) and that she had engaged in sexual activity with him on multiple occasions. The
minor stated that she engaged in oral, anal, and vaginal sex with LANDIS. The minor further

indicated that she was still in telephonic and Facebook contact with LANDIS. The minor

2 ‘The address is in West Norriton Township, but may utilize a Norristown mailing address.

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retrieved LANDIS’ previously identified telephone number from her cell phone and provided it to
investigators.
32. On December 3, 2012, your Affiant served a search warrant on Facebook Inc. for records
related to LANDIS' closed and current Facebook account. On December 13, 2012, those results
were received and reviewed.
(33. Areview of the records for Facebook UID wlandis! indicates that the date of birth
supplied for the account is December 7, 1984, which is LANDIS' date of birth. An email address
of rlandis325(@comcast.net was supplied as a means of contact.
34. Additionally, between November 15, 2012 and November 27, 2012, the user has used an
Apple iPad or Apple iPhone device to access the Facebook account from IP addresses

98.225.253.10. This IP address has been identified as assigned to Robert Landis.
35. A review of the records for Facebook UID 1641165072 indicates that the date of birth
supplied for the account is December 7, 1984, which is LANDIS' date of birth. An email address
of xtictac22@hotmail.com was supplied as a means of contact. This email address was
previously identified as belonging to LANDIS.
36. Your Affiant reviewed the messages provided by Facebook between LANDIS and the
previously identified minor and noted the following conversations. A conversation on April 29,
2012 at approximately 6:00 PM is as follows: Wendell Landis (WL) and Minor (M) WL:

"Lol... wanna take pics of u..."

M "Nnnn what kindd ;)"

WL "Not ones u can put on fb... Maybe start out with underwear pics..."

M "Mmm u can take any type u want ;)'

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with a minor. LANDIS does not have any known minors as contacts in his telephone or e-mail.
LANDIS stated that he never talked with a minor on Facebook, nor attempted to entice a minor _
on Facebook. LANDIS also provided the following e-mail addresses which he uses or has used in
the past; wlandis@extonnissan.com, rlandis325@comeast.net, xtictac22@hotmail.com,

xtictac22@gmail.com, xtictac22(@yahoo.com, yourfantasy1207@yahoo.com,
rweycles@gmail.com. LANDIS indicated he rarely uses the Yahoo! addresses, but does

occasionally check them.

50. On February 11, 2013, your Affiant received the full reports from the RCLF related to the
analysis of an iPhone, iPad, and laptop computer utilized by LANDIS. The data indicates that the
previously identified minor’s email address and telephone number were stored within the iPad
and iPhone. The recovered data further indicated that the iPad was used to type in “Buford” and
the name of the account holder previously noted in paragraph 25.

51. The data recovered from the RCFL indicates that LANDIS’ Gateway laptop was utilized to
access Yahoo! Mail on numerous occasions, most recently on the following dates, August 14,
2012, August 28, 2012, September 1, 2012, October 16, 2012, and December 17, 2012. The data
also indicates that LANDIS utilizes cloud storage to move and download photographs.

52. Your Affiant also reviewed photographs recovered from LANDIS’ iPhone and observed
approximately ten photographs of the minor female noted above. The photographs show the
minor with exposed breasts, exposed genitalia, as well as wearing a bra and underwear. The

photographs have been sent to the Atlanta Division to be identified by the minor’s mother.

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PECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

SPECIFICS OF SEARCH AND SEIZURE OF CEE

48. Searches and seizures of evidence from computers commonly require agents to download
or copy information from the computers and their components, or seize most or all computer
items (computer hardware, computer software, and computer related documentation) to be
processed later by a qualified computer expert in a laboratory or other controlled environment.

This is almost always true because of the following:

a. Computer storage devices (like hard disks, diskettes, tapes, laser disks,
magneto opticals, and others) can store the equivalent of thousands of pages of information.
Especially when the user wants to conceal criminal evidence, he or she often stores it in random
order with deceptive file names. This requires searching authorities to examine all the stored data
to determine whether it is included in the warrant. This sorting process can take days or weeks, ©
depending on the volume of data stored, and it would be generally difficult to accomplish this

kind of data search on site; and

b. Searching computer systems for criminal evidence is a highly technical
process requiring expert skill and a properly controlled environment. The vast array of computer
hardware and software available requires even computer experts to specialize in some systems
and applications, so it is difficult to know before a search which expert should analyze the system
and its data. The search of a computer system is an exacting scientific procedure which is
designed to protect the integrity of the evidence and to recover even hidden, erased, compressed,
password-protected, or encrypted files. Since computer evidence is extremely vulnerable to

tampering or destruction (which may be caused by malicious code or normal activities of an

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operating system), the controlled environment of a laboratory is essential to its complete and

accurate analysis.

49. In order to fully retrieve data from a computer system, the analyst needs all magnetic
storage devices as well as the central processing unit (CPU). In cases involving child
pornography where the evidence consists partly of graphics files, the monitor(s) may be essential
for a thorough and efficient search due to software and hardware configuration issues. In
addition, the analyst needs all the system software (operating systems or interfaces, and hardware
drivers) and any applications software which may have been used to create the data (whether
stored on hard drives or on external media). In addition, there is probable cause to believe that the
computer and its storage devices are all instrumentalities of the crime(s), within the meaning of

Title 18 U.S.C. §§ 2251 through 2256, and should all be seized as such.

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SEARCH METHODOLOGY TO BE EMPLOYED

To search for electronic data contained in computer hardware, computer software, and/or
memory storage devices, the examiners will make every effort to use computer forensic software
to have a computer search the digital storage media. This may include the following techniques

(the following is a non-exclusive list, as other search procedures may be used):

a. searching for image files to locate images of children engaging in sexually
explicit conduct, examining log files associated with the receipt, transmission, and viewing of
such images, and examining all of the data contained in such computer hardware, computer
software, and /or memory storage devices to view the data and determine whether that data falls

within the items to be seized as set forth herein;

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b. surveying various file directories and the individual files they contain;

c. on-site triage of computer system(s) to determine what, if any, peripheral
devices and/or digital storage units have been connected to such computer system(s), as well as a
preliminary scan of image files contained on such system(s) and digital storage device(s) to help

identify any other relevant evidence and/or potential victim(s).

d. searching for and attempting to recover any deleted, hidden, or encrypted
data to determine whether that data falls within the list of items to be seized as set forth herein
(any data that is encrypted and unreadable will not be returned unless law enforcement personnel
have determined that the data is not (1) an instrumentality of the offenses, (2) a fruit of the
criminal activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of the

offenses specified above);

e. examination of all of the data contained in such computer hardware,
computer software, and/or memory storage devices to view the data and determine whether that

data falls within the items to be seized as set forth herein;
f. scanning storage areas;

g. performing key word searches through all electronic storage areas to
determine whether occurrences of language contained in such storage areas exist that are likely to

appear in the evidence described in Attachment B;

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h. searching for malware in order to evaluate defenses, such as viruses; and/or
i. performing any other data analysis technique that may be necessary to

locate and retrieve the evidence described in Attachment B.
ABILITY TO RETRIEVE DELETED FILES

50. | Computer files or remnants of such files can be recovered months or even years after they
have been downloaded onto a hard drive, deleted or viewed via the Internet. Electronic files
downloaded to a hard drive can be stored for years at little or no cost. Even when such files have
been deleted, they can be recovered months or years later using readily-available forensic tools.
When a person "deletes" a file on a home computer, the data contained in the file does not
actually disappear, rather, that data remains on the hard drive until it is overwritten by new data.
‘Therefore, deleted files, or remnants of deleted files may reside i in free space or slack space - - that
is, in space on the hard drive that is not allocated to an active file or that is unused after a file has
been allocated to a set block of storage space - for long periods of time before they are
overwritten. In addition, a computer's operating system may also keep a record of deleted data in
a "swap" or "recovery" file. Similarly, files that have been viewed via the Internet are
automatically downloaded into a temporary Internet directory or "cache." The browser typically .
maintains a fixed amount of hard drive space devoted to these files and the files are only
overwritten as they are replaced with more recently-viewed Internet pages. Thus, the ability to
retrieve residue of an electronic file from a hard drive depends less on when the file was
downloaded or viewed than on the particular user's operating system, storage capacity, and

computer habits.

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CONCLUSION
51. _ Based on the aforementioned factual information, your affiant respectfully submits that
there is probable cause to believe that ROBERT WENDELL LANDIS has knowingly persuaded,
induced, enticed, or coerced a minor to engage in sexually explicit conduct for the purpose of
producing visual depictions of such conduct, and received and or possessed child pornography,
and respectfully submits that there is probable cause to believe that there is evidence of the
commission of criminal offenses by ROBERT WENDELL LANDIS, namely, violations of Title
18, United States Code, Sections 2252, 2252A, and 2251, located at Yahoo! 701 First Avenue,
Sunnyvale, California and associated with email addresses xtictac22@yahoo.com and
yourfantasy1207@yahoo.com and this evidence, listed in Attachments A and B to this affidavit,
which is incorporated herein by reference, is contraband, the fruits of crime, or things otherwise

criminally possessed, or property which is or has been used as the means of committing the

foregoing offenses.

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52. Your Affiant, therefore, respectfully requests that the attached warrant be issued

authorizing the search and seizure of the items listed in Attachments A and B.

aC lef "
Adam Sucheski

Special Agent
Federal Bureau of Investigation

Sworn and subscribed before me this By wy of February, 2013.

—7F (Dino |)

HONORABLE M. FAITH ANGEL
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
(To Be Served Upon Yahoo)

Location to be searched: Yahoo, 701 First Avenue, Sunnyvale, California, and other locations
where Yahoo servers are located that store ¢-mail and user account content and information. _
Items to be Seized (xtictac22@yahoo.com and yourfantasy1207@yahoo.com ) -

A. Preserved data requested on December 13, 2012 via Preservation Letter , Yahoo! internal

reference number 221568 which included all content stored in or associated with e-mail accounts

xtictac22@yahoo.com and yourfantasy1207@yahoo.com to include e-mails (read, sent, deleted,
draft, and unopened) whether in a mailbox, user created folders, or other storage locations,
attachments, documents, graphics, and any other uploaded, saved, or associated files;
B. histories;

buddy lists, contacts, address books;

Cc
D. profiles;
E

subscriber information;
F. method of payments;
G. detailed billing records (log on and log off times);
H. terms of service violations;
I. and IP connection data; all in relation to e-mail account xtictac22@yahoo.com and

yourfantasy1207@yahoo.com

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ATTACHMENT B
(To be executed by Law Enforcement Agents)
Items to be seized:

All files, documents, communications, and contacts associated with the account
xtictac22@yahoo.com and yourfantasy1207@yahoo.com related to the production, receipt,
distribution, and or possession of files of minors engaging in sexually explicit conduct and or
sadistic or masochistic abuse, to include child pornography; visual depictions of minors engaging
in sexually explicit conduct; communications about or to minors; and any contact with minors; in
violation of Title 18, United States Code, Sections 2252, 2252A and 2251, along with any
evidence that would tend to show the true identities of the persons committing these offenses. .

All available log files showing dates, times and IP addresses for access to this account.

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